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  Anthony Williams
  FDC Honolulu #05963-122
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  Honolulu, HI 96820                                                                sue BEIT{A. CLERK
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                            UNITED STATES DISTRICT COURT

                                      DISTRICT OF HAWAII




  UNITED STATES OF AMERICA                                            CASE NO. 17-00101 LEK



  vs.



  ANTHONY TROY WILLIAMS



  PRIVATE ATIORNEY GENERAL Anthony Williams DECLARATION THAT LESLIE E. KOBAYASHI IS NOT THE
  JUDGE IN THIS CASE BUT A PROSECUTOR WORKING FOR THE U.S. ATIORNEY'S OFFICE DISGUISING
  HERSELF DRESSED IN A BLACK ROBE



    Private Attorney General Anthony Williams a servant of the Most High Yahweh Elohim Yahshua,
  submits this declaration to show forth that Leslie E. Kobayashi is not a judge in this case but a prosecutor
  in disguise worki ng for the U.S. Attorney's Office. In support of t his declaration the undersigned presents
  the follow ing facts:



  I, Anthony Williams, declared, depose and state unde r the penalty of law that the following is true,
  correct and complete to the best of my knowledge, information and belief.



  1. LesLIE E. Kobayashi (hereinafter "LesLIE") has shown no semblance of jurisprudence, impartialit y or
  fairness in any of her rulings.




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2. LesLIE has consistently violated her judicial canon which states that she must conduct herself in a
professional manner at all times to ensure that her integrity could not be brought into question and that
there is no appearance of evil so that justice can be properly rendered.



3. LesLIE has consistently granted motions submitted by the prosecution that she KNEW were bogus and
malicious and done to harass the undersigned and delay the trial such as the Mental Competency
Determination, when Leslie KNEW t he undersigned is high ly competent and was provided documented
proof that the undersigned was subjected to this same bogus tactic in Florida 2 years prior and yet Leslie
still granted the motion which unlawfully continued the trial again to keep the undersigned incarcerated
longer and delayed the trial.



4. LesLIE has constantly violated the Federa l Rules of Criminal Procedure by practicing law from the
bench and answering motions on beha lf of the government and excusing the prosecutors from having to
respond to the undersigned's motions because Gregg Paris Yates and Kenneth M. Sorenson and too
incompetent to answer and if they did answer Leslie KN EW she would have had to grant the
undersigned's motion because these pettifoggers couldn't put forth any valid arguments with
accompanying legal precedent and therefore in order to save them from embarrassment, Leslie has
taken it upon herself to answe r the motions on behalf of the prosecutors and denying the motions at
the same time (e.g. November 20, 2019 "Order Denying Defendant's Motion For Government To Provide
Evidence That Anyone Who Has Passed The Background Check To Visit Private Attorney General
Anthony Williams Is A Secu rity Risk Or Concern", in which Leslie excused t he government from having to
answer the motion and Leslie answered the motion on the government's behalf and then denied the
motion.



5. LesLIE entered another order on November 22, 2019 regarding defendant's Motion For Miscellaneous
Relief (in which standby attorney Lars Isaacson unlawfully ren amed from the original motion which was
entitled "Motion Of Private Attorney General Anthony Williams To Plead Guilty If The Satanic
Prosecutors Can Provide All Proof Of Claims Submitted In This Motion, Otherwise The Government
Agrees To Dismiss The Case On It's Own Motion") and excused the prosecutors from having to answer
the motion because Leslie KNEW they could not put forth any va lid argument and t hey wou ld have had
to dismiss the case.



6. LesLIE has consistently excused the prosecutors from answering the undersigned's motions and have
answered them on behalf of the prosecutors and then inevitably denying them .



7. LesLIE KNOWS that she is breaking the law by excusing the prosecutors from answering motions
which is in direct contradiction to the Federal Rules of Criminal Procedure and the Local Rules. (See LR
7.1 through 7.6, there is no provision that states the government needs not respond to a motion filed by
the defense.)
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8. LesLIE KNOWS that a real judges' job is to consider motions filed by any party, designated the time
frame in which the answering party or opposing party has to respond and reply from the moving party,
and then issue a ruling based on the merits of the arguments, but LesLIE fails to do this time and time
again.



9. Judge Richard Puglisi issued a lawful order for the FDC to provide the undersigned a computer w ith
word-processing, saving capability and blank CD with an attached printer in order that the undersigned
would have adequate tools to draft and save motions and print said motions and documents from his
discovery discs but LesLIE as her custom is overturned the just and lawful ruling of Judge Puglisi and
denied the undersigned all the tools that he is constitutional required to have access to in order to
hinder the undersigned's defense and make it damn near impossible to draft sufficient motions with
attached exhibits and forcing the undersigned to have to do more work than necessary just to draft a
simple motion.



10. At the undersigned's evidentiary hearing, three (3) of the witnesses who were being alleged as
victims by the prosecution was present to testify that they never made any complaints against the
undersigned and LesLIE unlawfully prohibited these witnesses from testifying at the evidentiary hearing
which wou ld have mandated dismissal of the bogus charges.



10. Lesli E's actions can be viewed in three ways and t hat is that they are l)discriminatory; 2)biased and
3) unjust.



11. LesLIE has shown that she is not interested in following the law or administering true justice in this
case and it is evident that she needs to be recused from this case as previously filed by the undersigned .



12. All of the actions of LesLIE prove that she is truly not a judge in this case but a prosecutor disguising
herself as a judge dressed in a black robe.



 WHEREFORE, based upon the foregoing facts it is indisputable that LesLIE has a racist disposition
toward the undersigned and has shown a consistent pattern of discrimination, bias and inequity in her
rulings aga inst t he undersigned and therefore she should be permanently removed and recused from
presiding over this case.



Executed th is 301h day of December,2019.
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Rightfully Submitted,




  ivate   orney General
Counsel to the Poor (Psalms 14:6}
Common Law Counsel (28 USC 1654, First Judiciary Act of 1789,§35}



"For I know how many are your offenses and how great your sins. You oppress the righteous
and take bribes and you deprive the poor of justice in the courts."
                                                                 Amos 5:12
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                           CERTIFICATE OF SERVICE



I hereby certify that a true and correct copy of the foregoing was sent by U.S. mail to the
following pettifoggers:



U. S. ATIORNEY'S OFFICE
Kenneth M. Sorenson
Greg Paris Yates
PJKK Federal Building, Rm. 6-100
300 Ala Moana Blvd.
Honolulu, Hawaii 96850




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On the   ?JJ-    day of _l.)eCgM01lV , 2019




A thony .
P vate A     ney General
Counsel to the Poor {Psalms 14:6}
Common Law Counsel {28 USC 1654, First Judiciary Act of 1789, § 35}
